Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 1of 17 PagelD #: 88

FILED

UNITED STATES DISTRICT COURTAMES J- VILT, JR. - CLERK
WESTERN DISTRICT OF KENTUCKY FEB { | 25

AT LOUISVILLE
U.S. DISTRICT COURT
UNITED STATES OF AMERICA WEST’N. DIST. KENTUCKY

SUPERSEDING INFORMATION

NO. “S.28$-CR-W27-Ces

18 U.S.C. § 1962(d)
JAIRO JAIME TINAJERO 18 U.S.C, § 2251 (a)

18 U.S.C. § 2251 (e)

18 U.S.C. § 2422(b)

18 U.S.C. § 2252A(a)(2)(B)

18 U.S.C. § 875

18 U.S.C. § 2261A(2)

18 U.S.C. § 2261B(a)

18 U.S.C. § 1959

The United States Attorney charges:

COUNT 1
(Racketeering Conspiracy, 18 U.S.C § 1962(d))

Introduction

1. At various times relevant to this Superseding Information, the defendant Jairo
Jaime Tinajero, a/k/a “Christus,” a/k/a “dreamer370,” (“defendant” or “TINAJERO”) and others
known and unknown, were members and associates of “764,” a criminal organization whose
members and associates engage in the possession, production, and distribution of child sexual
abuse material, and acts and threats involving murder,

2. 764 is a network of Violent Extremists who engage in criminal conduct within the
United States and engage with other extremists abroad. The 764 network’s occult accelerationist
goals include social unrest and the downfall of the current world order, including the United States
Government. Members of 764 work in concert with one another towards a common purpose of

destroying civilized society through the corruption and exploitation of youth.
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 2 of 17 PagelD #: 89

3. Members of 764, both individually and as a group, methodically target vulnerable,
underage populations across the United States and the globe. Members of 764 use known online
social media communications platforms as mediums to support the possession, production, and
sharing of extreme gore media and child sexual abuse material (“CSAM”) with vulnerable,
juvenile populations. Members of 764 seek to desensitize young people to violence, breaking down
societal norms regarding engaging in violence, and normalizing the possession, production, and
sharing of explicit CSAM and gore material to corrupt and groom people towards future violence.

4, Individual victims are targeted through synchronized group chats, as members of
764 will blackmail and coerce the victims to comply with the demands of the group. These
demands vary and include, but are not limited to, self-mutilation, online and in-person sexual acts,
harm to animals, sexual exploitation of siblings, acts of random violence, suicide, and murder.

5, Historically, members of 764 systematically target underage females, groom them,
blackmail them as a group, and force them to mutilate themselves or others and either film or
photograph such activity. The group will then commonly edit compilation photographs or videos
of their victims, share these photographs or videos on their social media platforms to gain notoriety
amongst members of the group, and spread fear among their victims, all for the purpose of
accelerating chaos under the 764 ideology with an aim towards the disruption of society.

6. The 764 group has shifted names over time and spawned known offshoot groups, .
including sects known as “7997” and “8884” to which TINAJERO belonged. Although the group
moves between social media channels and changes its name, the core members and goals remain
consistent and appear under the overarching threat of 764.

7. At various times relevant to this Superseding Information, the defendant was a

resident of Arkansas, and Jane Does | through 4 resided within the Western District of Kentucky.
Case 3:23-cr-00112-CRS Document 34 Filed 02/11/25 Page 3of17 PagelD #: 90

The Racketeering Enterprise

8. At all times relevant to the Superseding Information, 764, including its leaders,
members, and associates, constituted an “enterprise,” as that term is defined by Title 18, United
States Code, Sections 1959(b)(2) and 1961(4), that is, a group of individuals associated in fact that
engaged in and the activities of which affected interstate and foreign commerce (the “764
Enterprise” or the “Enterprise”). The enterprise constituted an ongoing organization whose
members and associates functioned as a continuing unit for a common purpose of achieving the
objectives of the enterprise. TINAJERO and others were members and associates of the 764
Enterprise.

Purposes of the Enterprise

9. The purposes of the 764 Enterprise included the following:

a. Achieving accelerationist! goals, including causing as much harm as
possible to create chaos in an effort to retaliate against the United States
government and other governments, destabilize society, and cause the collapse of
governments and the rule of law;

b. Working in concert with one another towards a common purpose of
destroying civilized society through the corruption and exploitation of youth;

c. Using electronic communication and online social media communications
platforms as mediums to support the possession, production, and sharing of CSAM,
at least in part to further the accelerationist goals of the 764 Enterprise, among other

related online networks;

1 Accelerationism refers to a white-supremacist belief that the existing state of society is
itreparable and that the only solution is the destruction and collapse of thé “system.”
Accelerationism is premised on the idea that steps can be taken to speed up the collapse of the

system, to wit: the destruction of the U.S. power grid, among other acts of violence.
3
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 4of17 PagelD #: 91

d. Using electronic communication and online social media communications
platforms, as mediums to support the possession, production, and sharing of
extreme gore media, at least in part to further the accelerationist goals of the 764
Enterprise, among other related online networks;

€. Targeting victims through synchronized group chats, blackmailing the
victims to comply with the demands of the group, including, but not limited to, self-
mutilation, online and in-person sexual acts, harm to animals, sexual exploitation
of siblings, acts of random violence, suicide, and murder, at least in part to further
the accelerationist goals of the 764 Enterprise, among other related online
networks;

f. Threatening victims with violence or death, at least in part to further the
accelerationist goals of the 764 Enterprise, among other related online networks;
and

g. Avoiding detection of criminal activity.

Means and Methods of the Enterprise

10. Among the means and methods by which members and associates of the 764
Enterprise conducted and participated in the conduct of the Enterprise were the following:

a. Members and associates of the Enterprise used electronic communication and
online social media communications platforms as mediums to support the
possession, production, and sharing of child sexual abuse material (“CSAM”), at
least in part to further the accelerationist goals of the 764 Enterprise, among other
related online networks. The accelerationist goals of the 764 Enterprise included

causing as much harm as possible to create chaos in an effort to retaliate against the
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 5 of 17 PagelD #: 92

United States government, destabilize society, and cause the collapse of
governments and the rule of law.

b. Members and associates of the Enterprise used electronic communication and
online social media communications platforms, as mediums to support the
possession, production, and sharing of extreme gore media, at least in part to further
the accelerationist goals of the 764 Enterprise, among other related online networks.

c. Members and associates of the Enterprise targeted victims through synchronized
group chats, blackmailing the victims to comply with the demands of the group,
including, but not limited to, self-mutilation, online and in-person sexual acts, harm
to animals, sexual exploitation of siblings, acts of random viclence, suicide, and
murder, at least in part to further the accelerationist goals of the 764 Enterprise,
among other related online networks.

d. Members and associates of the Enterprise used interstate communications to
threaten victims with violence or death, at least in part to further the accelerationist
goals of the 764 Enterprise, among other related online networks.

The Racketeering Conspiracy

11. From at least as early as April 1, 2023, the exact date being unknown, and
continuing until at least October 4, 2023, in the Western District of Kentucky and elsewhere, the
defendant JAIRO JAIME TINAJERO, and others known and unknown, each being a person
employed by and associated with the 764 Enterprise, an enterprise engaged in, and the activities
of which affected, interstate and foreign commerce, did knowingly and intentionally conspire to
violate 18 U.S.C. § 1962(c), that is, to conduct and participate, directly and indirectly, in the
conduct of the affairs of the enterprise through a pattern of racketeering activity, as defined in

Sections 1961(1) and (5) of Title 18, United States Code, which pattern of racketeering activity
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 6 of 17 PagelD #: 93

consisted of multiple acts or threats involving murder, chargeable under Arkansas Code
Annotated, Sections 5-10-102, 5-3-401, 5-3-201, and 5-3-202, and Kentucky Revised Statute
Sections 507.020, 502.020, 506.010, and 506.040, and multiple acts indictable under 18 U.S.C. §
2422 (relating to coercion and enticement), 18 U.S.C. § 2251 (relating to the sexual exploitation
of children), and 18 U.S.C. § 2252 (relating to the sexual exploitation of children),
12. It was part of the conspiracy that the defendant agreed that a conspirator would
commit at least two acts of racketeering activity in the conduct of the affairs of the 764 Enterprise.
Overt Acts
13. In furtherance of the racketeering conspiracy, and to effect the object thereof, the

Defendant and his conspirators committed and caused to be committed the following overt acts,
among others, in the Western District of Kentucky and elsewhere:

a. In or about and between April 2023 and September 2023, the defendant and

at least one co-conspirator used a social media communications platform to induce

minors, including Jane Does 1 through 4, to photograph and video record

themselves exposing their breasts and genitalia and engaging in masturbation.

b. On or about April 9, 2023, the defendant paid Jane Doe-1 to photograph her

genitalia and send the photograph of her genitalia to defendant using a social media

communication platform.

c. On or about April 23, 2023, the defendant paid Jane Doe-1 to photograph

her genitalia and send the photograph of her genitalia to defendant using a social

media communication platform.

d. On or about May 20, 2023, the defendant paid Jane Doe-1 to photograph

her genitalia and send the photograph of her genitalia to defendant using a social

media communication platform.
Case 3:23-cr-00112-CRS Document 34 Filed 02/11/25 Page 7 of 17 PagelD #: 94

é. On or about July 4, 2023, the defendant distributed material te at least one
co-conspirator that contained child pornography using any means and facility of
interstate cormmerce, including by computer.

f. On or about July 17, 2023, the defendant distributed material that contained
child pornography to at least one co-conspirator using any means and facility of
interstate commerce, including by computer.

g. On or about July 17, 2023, the defendant published a “Lorebook” that
contained Jane Doe 1’s nude pictures with Jane Doe 1’s full name, phone numbers,
address, social media contacts, family members, and other personal details using a
social media communications platform.

h. On or about June 22, 2023, the defendant sent a text message to Jane Doe 1
in which he threatened to rape Jane Doe 1.

i. On or about August 10, 2023, the defendant posted a message on a social
media communications platform in which he threatened to kill Jane Doe 1.

j. On or about August 26, 2023, the defendant posted a message on a social
media communications platform in which he threatened to kill Jane Doe 1.

k. On or about September 2, 2023, the defendant posted a message on a social
media communications platform in which he threatened to kill Jane Doe 1.

1, On or about September 3, 2023, defendant posted a message on a social
media communications platform in which he threatened to kill Jane Doe 1.

m. From on or about June 2023, the exact date being unknown, until about
September 2023, the defendant and at least one co-conspirator, used text messages,

chat messages and social media platforms, to send threatening messages that caused
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 8 of 17 PagelD #: 95

substantial emotional distress to Jane Does 1 through 4 and placed them in
reasonable fear of death or serious bodily injury.

n. Beginning in or about July 2023, the defendant, and at least one co-
conspirator conspired to murder Jane Doe 1. During multiple discussions over a
social media communications platform, defendant and a co-conspirator (CC-1)
agreed that defendant should kill Jane Doe 1, and had specific discussions about
the method defendant would use to kill her and dispose of the body after the murder.
0. Between on or about July 28, 2023, and September 3, 2023, defendant
posted multiple messages stating that he planned to kill Jane Doe 1 with a firearm
because Jane Doe 1 refused to provide additional CSAM to defendant.

p. During several of those posts, CC-1 agreed that defendant should kill Jane
Doe | and sent defendant information about how to dispose of Jane Doe {’s body
in a barrel of acid after the murder.

q. Also, in the time relevant to this Information, CC-1 threatened Jane Doe 1
to coerce her to provide CSAM.

r. On or about September 4, 2023, defendant attempted to purchase an AR-15
assault rifle from a firearms distributor in the State of Arkansas.

In violation of Title 18, United States Code, Section 1962(d).

The United States Attorney further charges:

COUNT 2
(Online Enticement)

14. In or about and between April 2023 and September 2023, in the Western District
of Kentucky, Jefferson County, Kentucky, and elsewhere, the defendant, JATRO JAIME

TINAJERO, using a facility and means of interstate and foreign commerce, did knowingly
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 9 of 17 PagelD #: 96

persuade, induce, and entice an individual, who had not attained the age of eighteen years, Jane
Doe 1, to engage in sexual activity for which a person may be charged with a criminal offense, to
wit: Use of a Minor in a Sexual Performance, in violation of Kentucky Revised Statute § 531.310.

In violation of Title 18, United States Code, Section 2422(b).

The United States Attorney further charges:

COUNT 3
(Production of Child Pornography)

15. On or about April 9, 2023, in the Western District of Kentucky, Jefferson County,
Kentucky, and elsewhere, the defendant, JATRO JAIME TINAJERO, used, persuaded, induced,
enticed, and coerced a minor, Jane Doe 1, to engage in sexually explicit conduct for the purpose
of producing any visual depiction of such conduct, knowing or having reason to know that such
visual depiction would be transported and transmitted in and affecting interstate and foreign
commerce.

In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).

The United States Attorney further charges:

COUNT 4
(Production of Child Pornography)

16, On or about April 23, 2023, in the Western District of Kentucky, Jefferson County,
Kentucky, and elsewhere, the defendant, JATRO JAIME TINAJERO, used, persuaded, induced,
enticed, and coerced a minor, Jane Doe 1, to engage in sexually explicit conduct for the purpose
of producing any visual depiction of such conduct, knowing or having reason to know that such
visual depiction would be transported and transmitted in and affecting interstate and foreign
commerce.

In violation of Title 18, United States Code, Sections 2251(a) and 2251(e).
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 10 of 17 PagelD #: 97

The United States Attorney further charges:

COUNT 5
(Production of Child Pornography)

17. On or about May 20, 2023, in the Western District of Kentucky, Jefferson County,
Kentucky, and elsewhere, the defendant, JAIRO JAIME TINAJERO, used, persuaded, induced,
enticed, and coerced a minor, Jane Doe 1, to engage in sexually explicit conduct for the purpose
of producing any visual depiction of such conduct, knowing or having reason to know that such
visual depiction would be transported and transmitted in and affecting interstate and foreign
commerce.

In violation of Title 18, United States Code, Sections 2251(a) and 2251{e).

The United States Attorney further charges:

COUNT 6
(Distribution of Child Pornography}

18. On or about July 4, 2023, in the Western District of Kentucky, Jefferson County,
Kentucky, JAIRO JAIME TINAJERO, knowingly distributed material that contained child
pornography using any means and facility of interstate and foreign commerce, including by
computer.

In violation of Title 18, United States Code, Sections 2252A(a}(2)(B) and (b)(1).

The United States Attorney further charges:

COUNT 7
(Distribution of Child Pornography}

19. On or about July 17, 2023, in the Western District of Kentucky, Jefferson County,

Kentucky, JAIRO JAIME TINAJERO, knowingly distributed material that contained child

10
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 11 of 17 PagelD #: 98

pornography using any means and facility of interstate and foreign commerce, including by
computer.

In violation of Title 18, United States Code, Sections 2252A(a)(2)(B) and (b}(1).

The United States Attorney further charges:

COUNT 8
(Distribution of Child Pornography)

20. On or about July 17, 2023, in the Western District of Kentucky, Jefferson County,
Kentucky, JAIRO JAIME TINAJERO, knowingly distributed material that contained child
pornography using any means and facility of interstate and foreign commerce, including by
computer.

In violation of Title 18, United States Code, Sections 2252A(a)(2)(B) and (b)(1).

The United States Attorney further charges:

COUNT 9
(interstate Communications with a Threat to Injure)

21. On or about June 22, 2023, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, JAIRO JAIME TINAJERO, knowingly and willfully did transmit in
interstate and foreign commerce from Russellville, State of Arkansas, to the State of Kentucky, a
communication to Jane Doe 1, and the communication contained threats to injure Jane Doe I,
specifically a threat to rape Jane Doe 1.

In violation of Title 18, United States Code, Section 875(c).

1]
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 12 of 17 PagelD #: 99

The United States Attorney further charges:

COUNT 10
(interstate Communications with a Threat to Injure)

22. On or about August 10, 2023, in the Western District of Kentucky, Jefferson
County, Kentucky, the defendant, JAURO JAIME TINAJERO, knowingly and willfully did
transmit in interstate and foreign commerce from Russeliville, State of Arkansas, to the State of
Kentucky, a communication to Jane Doe 1, and the communication contained threats to injure Jane
Doe |, specifically a threat to kill Jane Doe 1.

In violation of Title 18, United States Code, Section 875(c}.

The United States Attorney further charges:

COUNT Il
(interstate Communications with a Threat to Injure)

23. On or about August 26, 2023, in the Western District of Kentucky, Jefferson
County, Kentucky, the defendant, JAIRO JAIME TENAJERO, knowingly and willfully did
transmit in interstate and foreign commerce from Russellville, State of Arkansas, to the State of
Kentucky, a communication to Jane Doe 1, and the communication contained threats to injure Jane
Doe 1, specifically a threat to kill Jane Doe 1.

In violation of Title 18, United States Code, Section 875(c).

The United States Attorney further charges:

COUNT 12
(interstate Communications with a Threat to Injure)

24, On or about September 2, 2023, in the Western District of Kentucky, Jefferson

County, Kentucky, the defendant, JAIRO JAIME 'TINAJERO, knowingly and willfully did

12
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 13 of 17 PagelD #: 100

transmit in interstate and foreign commerce from Russellville, State of Arkansas, to the State of
Kentucky, a communication to Jane Doe 1, and the communication contained threats to injure Jane
Doe I, specifically a threat to kil Jane Doe 1.

In violation of Title 18, United States Code, Section 875(c).

The United States Attorney further charges:

‘COUNT 13
(interstate Communications with a Threat to Injure)

25, On or about September 3, 2023, in the Western District of Kentucky, Jefferson
County, Kentucky, the defendant, JAIRO JAIME TINAJERO, knowingly and willfully did
transmit in interstate and foreign commerce from Russellville, State of Arkansas, to the State of
Kentucky, a communication to Jane Doe 1, and the communication contained threats to injure Jane
Doe 1, specifically threat to kill Jane Doe 1.

In violation of Title 18, United States Code, Section 875(c).

The United States Attorney further charges:

COUNT 14
(Cyberstalking)

26. From on or about June 2023, the exact date being unknown, until about September
2023, in the Western District of Kentucky, Jefferson County, Kentucky, and elsewhere, JATRO
JAIME TINAJERO, with the intent to injure, harass, and cause substantial emotional distress to
a person in another state, namely, Kentucky, used facilities of interstate and foreign commerce,

including text messages, chat messages and social media platforms, to engage in a course of

13
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 14of17 PagelD #: 101

conduct that caused substantial emotional distress to the victim and placed her in reasonable fear
of death or serious bodily injury.

In violation of Title 18, United States Code, Sections 2261 A(2) and 2261 B(a).

The United States Attorney further charges:

COUNT 15
(Conspiracy to Murder Jane Doe 1 In Aid of Racketeering)

27. The United States Attorney hereby repeats and realleges each and every allegation
contained in Paragraphs 1 through 10 of this Information.

28. At all times relevant to this Superseding Information, the 764 Enterprise, through
its leaders, members, and associates, engaged in racketeering activity as defined in 18 U.S.C.
1959(b)(1), and 1961(1), that is, acts involving murder in violation of the laws of the States of
Arkansas and Kentucky, and acts indictable under 18 U.S.C. § 2422 (relating to coercion and
enticement), 18 U.S.C. § 2251 (relating to the sexual exploitation of children), and 18 U.S.C.
§ 2252 (relating to the sexual exploitation of children).

29, In or about the summer of 2023, in the Western District of Kentucky and elsewhere,
for the purpose of gaining entrance to and maintaining and increasing position in the 764
Enterprise, an enterprise engaged in racketeering activity, JAIRO JAIME TINAJERO, the
defendant, and others known and unknown, unlawfully and knowingly conspired to murder Jane
Doe | in violation of the laws of the State of Arkansas, that is Arkansas Code Annotated, Sections
5-10-102, and 5-3-401, and the Commonwealth of Kentucky, that is Kentucky Revised Statute
Sections 507.020 and 506.040.

All in violation of Title 18, United States Code, Section 1959(a)(5).

14
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 15 of 17 PagelD #: 102

SPECIAL FINDINGS

30. The United States Attorney further alleges that the offenses in this Superseding
Information committed by FATRO JAIME TINAJERO are felony offenses that were calculated
to influence or affect the conduct of government by intimidation or coercion, or to retaliate against
government conduct.

All in violation of Title 18, United States Code, Section 2422(b); Title 18, United States
Code, Sections 2251(a) and 2251(e); 18, United States Code, Sections 2252A(a)(2\(B) and (b)(1);
Title 18 United States Code, Section 875(c); Title 18, United States Code, Sections 2261A(Q) and
2261B(a); Title 18 United States Code, Section 1959; Title 18 United States Code, Section 1962;
and U.S.S.G, §3A1.4, Application Note 4.

NOTICE OF FORFEITURE

31. As a result of committing the offenses in this Superseding Information, the
defendant, JAFRO JAIME TINAJERO, shall forfeit to the United States, pursuant to Title 18,
United States Code, Sections 2253 and 2428, all of the right, title, and interests in any property,
real or personal, used or intended to be used to commit or to promote the commission of such
offenses or any property traceable to such property (including but not limited to all digital devices
seized in connection with the child exploitation investigation), and any visual depiction which was

produced, transported, mailed, shipped and received in violation of Chapter 110 of Title 18.

MICHAEL A. BENNETT
United States Attorney

MAB-:ER: 1/3/2025

15
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 16 of 17 PagelD #: 103

UNITED STATES OF AMERICA vy. JAIRO JAIME TINAJERO

PENALTIES
Count 1: NM 20 yrs./$250,000/both/ NL 5 yrs,/NM Life Supervised Release
Count 2: NL 10 yrs./NM Life/$250,000/both/NL 5 yrs./NM Life Supervised Release (per count)
(mandatory $5,000 assessment if the defendant is non-indigent ~ (18 U.S.C. § 3014 — effective 5/29/2015) per
count)
Counts 3-5: NL 15 yrs,/NM 30 yrs./$250,000/both/NL 5 yrs./NM Life Supervised Release (per count)
Counts 6-8: NE 5 yrs./NM 20 yrs./$250,000/both/NL 5 yrs./NM Life Supervised Release (per count)
Counts 9-13: NM 5 yrs./$250,000/both/ NL 5 yrs./NM Life Supervised Release (per count}
Count 14: NM 5Syrs./$250,000/boti/ NL 5 yrs./NM Life Supervised Release
Count 15: NM 10 yrs./$250,000/both/NL 5 yrs./NM Life Supervised Release
Forfeiture
NGTICE

ANY PERSON CONVICTED GF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTIFUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

Misdemeanor: $ 25 per count/individual Felony; $100 per count/individual
$125 per count/other $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court, 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:
1, INTEREST and PENALTIES as applicable by law according to last date of offense.

For offenses occurring after December 12, 1987:

No INTEREST will accrue on fines under $2,500.00.
INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
the time of sentencing. This rate changes monthly, Interest accrues from the first business
day following the two week period after the date a fine is imposed.
PENALTIES of:
106% of fine balance if payment more than 30 days late.
15% of fine balance if payment more than 90 days late.
2, Recordation of a LIEN shall have the same force and effect as a tax lien.
3. Continuous GARNISHMENT may apply until your fine is paid,
18 U.S.C. 8§ 3612, 3613
Ifyou WILLFULLY reftse to pay your fine, you shall be subject to an ADDITIONAL FINE

ofnot more than the greater of $10,000 or twice the unpaid balance of the fine; or -
IMPRISONMENT for not more than | year or both. 18 U.S.C. § 3615
Case 3:23-cr-00112-CRS Document 34 _ Filed 02/11/25 Page 17 of 17 PagelD #: 104

RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in Liew of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL
If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

1, That you deposit the entire fine amount (or the amount due under an installment schedule
during the time of your appeal) in an escrow account with the U.S, District Court Clerk, or

2. Give bond for payment thereof,
18 U.S.C. § 3572(g)
PAYMENTS

Ifyou are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, US. District Court and delivered to the appropriate division office listed below: :

LOUISVILLE: Clerk, U.S. District Court
106 Gene Snyder U.S. Courthouse
601 West Broadway
Louisville, K¥ 40202
502/625-3500

BOWLING GREEN: Clerk, U.S. District Court
120 Federal Building
241 East Main Street
Bowling Green, KY 42101
270/393-2500

OWENSBORO: Clerk, U.S. District Court
126 Federal Building
423 Frederica
Owensboro, KY 42301
270/689-4400

PABUCAH: Clerk, U.S. District Court
127 Federal Building
501 Broadway
Paducah, KY 42001
270/415-6400

Ifthe court finds that you have the present ability to pay, an order may direct imprisonment until payment is made,
